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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

************************************ *
Rochelle Pouget                         *
                                        *
Petitioner                              *
                                        *                    Civil No. 1:22-cv-00382-SE
v.                                      *
                                        *
John Coughlin, County Attorney, et. al. *
                                        *
Respondent                              *
                                        *
                                        *
*************************************

MEMORANDUM OF LAW IN SUPPORT OF RESPONDENT’S MOTION TO DISMISS

       Respondent, Hillsborough County Attorney John Coughlin, submits this memorandum

of law in support of Respondent’s motion to dismiss and states:

                                       INTRODUCTION

       In the context of her present petition for injunctive relief, Petitioner Rochelle Pouget

(“Petitioner” or “Pouget”) requests that this Court permanently restrain Hillsborough County

Attorney John Coughlin (“County Attorney” or “Coughlin”), from having any contact with

Petitioner or her minor child and that he be permanently banned from having anything to do

with any investigations that might be “in the works or opened up” in the future that involve her

daughter, herself or her marital residence. (Motion to Amend Complaint, Prayer for Relief, Page

8 para. E).
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        The Court should grant Respondent’s motion to dismiss because even construing the

complaint and Motion to Amend liberally, Petitioner has failed to state a claim for which relief

can be granted and County Attorney Coughlin is entitled to immunity in his official capacity. 1



                                     STATEMENT OF FACTS 2

        Petitioner’s initial complaint lists defendants as Kysa Crusco, GAL; Philip Cross, of the

NH Family Court; Derek Coburn c/o Attorney John Bisson; Salem Five Bank c/o Harmon Law

Offices; and Harmon Law Offices. (See Complaint, Document 1 Filed 9/3/22). The only

reference to County Attorney John Coughlin in the original complaint is Petitioner’s statement

that she had filed a motion for restraining in the Superior Court order naming, among others,

Coughlin. (See Complaint, Document 1, Page 3 para.2, Filed 9/3/22). Plaintiff’s Motion to

Amend her complaint as it pertains to Coughlin alleges a general dissatisfaction with her

requested investigations by the Hillsborough County Attorney’s Office. She alleges the

following specifically related to County Attorney Coughlin: a) that “the County AG” failed to

obtain a forensic analysis of video taken in the lobby of the New Boston Police Department

(“NBPD”) that purports to provide evidence that domestic violence incidents were not properly

investigated by NBPD,( Motion to Amend Para. 10); b) that Coughlin and Investigator Mark

Putney failed to investigate Petitioner’s claims of abuse by NBPD, New Boston Police Chief

Brace, and Kysa Crusco, in her capacity as a Guardian Ad Litem (“GAL”) (Motion to Amend

at Para. 11); and c) that Petitioner was promised by the “Hillsborough County Assistant AG”

that all of her “complaints would be investigated by Mark Putney and, that is not the case.”

1
  Respondent reserves all additional factual and legal defenses that may be applicable to Petitioner’s
petition.
2
  Certain facts within this memorandum of law are drawn from Petitioner’s petition and accompanying
filings. See (ECF Doc. 1); (ECF Doc. 1-1.) Respondent’s recitation of facts derived from Petitioner’s
filings do not constitute an admission any such factual allegations or an agreement as to their relevance.
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(Motion to Amend, Para. 12). Petitioner also states Coughlin’s wife was the Hillsborough

County Register of Deeds when an alleged “first act” of real estate fraud involving her marital

home occurred (Motion to Amend, Para. 12).

         Petitioner has initiated and prosecuted cases against Coughlin (and other named parties)

in the NH Superior Court requesting injunctive relief and damages prior to filing the instant

complaint, see (Declaration of CMK, dated May 10, 2023, ¶ 3) (hereinafter “Kirby Decl. ¶ __),

which include the following:

   a. Rochelle Pouget, Individually v. Derek Austin Coburn et al. Docket No. 216-2022-CV-
      0427 (N.H. Super. Ct., Hillsborough Cty. N.D.) (hereinafter “Pouget I”).
   b. Rochelle Pouget v. James Beard, Jr., et al. Docket No. 216-2023-CV-0218(N.H. Super.
      Ct., Hillsborough Cty. N.D.) (hereinafter “Pouget II”).

         Petitioner advised the NH Superior Court that she is a defendant in a criminal case

pending before the NH Circuit Court.

                                    STANDARD OF REVIEW

         Under the Rule 12(b)(6) standard, the court accepts the factual allegations in the petition

as true and construes reasonable inferences in petitioner’s favor. See Foley v. Wells Fargo Bank,

N.A., 772 F.3d 63, 71, 75 (1st Cir. 2014). The court may also consider facts susceptible to

judicial notice, Rodríguez-Ramos v. Hernández-Gregorat, 685 F.3d 34, 37 (1st Cir. 2012), as

well as any documents the authenticity of which is not disputed by the parties, official public

records, documents central to petitioner’s claims, or documents sufficiently referred to in the

complaint, see Ironshore Specialty Ins. Co. v. United States, 871 F.3d 131, 135 (1st Cir. 2017).

Dismissal is required if “the facts alleged in the complaint, taken as true, do not justify the

exercise of subject matter jurisdiction.” Muniz-Rivera v. United States, 326 F.3d 8, 11 (1st Cir.

2003).

                                        LEGAL ANALYSIS
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       A preliminary injunction is intended to be a provisional remedy that preserves the status

quo. NH Dep’t. of Envtl. Servs. v. Mottolo, 115 N.H. 57, 63, (2007). A preliminary injunction

“is an extraordinary and drastic remedy that is never awarded as of right.” Voice of the Arab

World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011); Mass Coalition of

Citizens with Disabilities v. Civil Def. Agency & Office of Emergency Preparedness, 649 F.2d

71, 76 n. 7 (1st Cir. 1981) (concluding that the authority of a judge to grant injunctive relief

should be used “sparingly”). It is a discretionary equitable remedy. NH Dep’t. of Envtl. Servs. v.

Mottolo at 63. To obtain a preliminary injunction, a plaintiff must prove a likelihood of success

on the merits; immediate danger of irreparable harm; and no adequate remedy at law. UniFirst

Corp. v. City of Nashua, 130 N. H. 11, 13-14 (1987). Petitioner must also demonstrate the “in

the absence of preliminary relief, that the balance of equities tips in his favor, and that an

injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

“To demonstrate likelihood of success on the merits, plaintiffs must show ‘more than mere

possibility’ of success – rather, they must establish a ‘strong likelihood’ that they will ultimately

prevail.” Sindicato Pertorriqueno de Trabajadores, SEIU Local 1996 v. Fortuno, 699 F.3d 1, 10

(1st Cir. 2012 (per curian) citations omitted). “Irreparable harm most often exists where a party

has no adequate remedy at law.” Charlesbank Equity Fund II, Ltd P’ship v. Blinds To Go, Inc.,

370 F.3d 151, 162 (1st Cir. 2004). “Though each factor is important . . . the sine qua non of [the]

four-part inquiry is likelihood of success on the merits: if the moving party cannot demonstrate

that he is likely to succeed in his quest, the remaining factors become matters of idle curiosity.”

Sindicato Pertorriqueno de Trabajadores, SEIU Local 1996, 699 F.3d at 10 (internal quotations

omitted).
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         As noted above, Petitioner filed a petition for restraining order twice in the NH Superior

Court. See generally (Docket No. 216-2022-CV-0427 -N.H. Super. Ct., Hillsborough Cty. N.D.)

and Docket No. 216-2023-CV-0218-N.H. Super. Ct., Hillsborough Cty. N.D.). The NH

Superior Court dismissed the 2022 matter. The NH Superior Court held a hearing on the 2023

petition and the parties await issuance of an order. In the prior and pending Superior Court case

Pouget requested injunctive relief to protect herself and her daughter from the named parties

including Coughlin. Her pleading contains no facts supporting a claim of immediate danger of

irreparable harm to her or her daughter by the County Attorney. Further, Petitioner’s petition

should be dismissed because the County Attorney is entitled to immunity and Petitioner has

failed to state an actionable claim against the County Attorney.


    I.      The Court should dismiss Petitioner’s petition because Petitioner has failed to
            state a claim for which injunctive relief can issue.


    The Petitioner cannot establish that she is likely to succeed on the merits with respect to her

request for injunctive relief. Despite the number of documents attached to her filing, Petitioner

failed to plead sufficient facts that would support her request for a restraining order against the

County Attorney, cite any legal basis for the relief she seeks or otherwise demonstrate that she is

likely to succeed on the merits of such a request. The fact that the Petitioner is dissatisfied with

the past actions and/or conduct of the County Attorney and his staff does not entitle her to the

relief requested. The Petitioner cannot demonstrate that she is likely to succeed on the merits of

her request for injunctive relief. 3 Moreover, Petitioner cannot establish that the County Attorney

poses an immediate threat of irreparable harm to Petitioner. She offers no facts to support her

3
  To the extent that Petitioner seeks an order compelling certain named defendants to engage in an
investigation or otherwise pursue criminal charges, Petitioner lacks standing to make such a claim. See
Petition of Lath, 169 N.H. 616 (2017); see also White v. Foster, Case No. 2017-0358, 2018 WL 1724921,
at *1 (March 8, 2018).
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requested relief only her general dissatisfaction with the County Attorney’s Office investigations.

Finally, the balance of the equities does not favor Petitioner’s request for a restraining order. In

ruling on a motion to dismiss where injunctive relief is requested, the decision “necessarily

depends upon the factual circumstances in each case” City of Keene v. Cleaveland, 167 N.H. at

742 (quotations omitted), and “require[es] the trial court to . . . balance the harm to each party if

relief were granted.” Kukene, 145 N.H. at 4 (2000). Here, an order granting Petitioner’s

requested restraining order would have a significant, severe, and detrimental impact on the

County Attorney and the public. Prohibiting the Hillsborough County Attorney from contact

with the Petitioner and/or her daughter could impede his (and his staff’s), ability to investigate

and prosecute crimes associated with Petitioner and her daughter and would likewise restrain

their ability to respond to any emergent situation that may arise in the future involving the

Petitioner or her daughter. The potential harm to the County Attorney, the public and,

potentially, the Petitioner outweighs any purported harm. The balance of equities weighs in

favor of denying Petitioner’s request for a restraining order. Because Petitioner fails to state a

claim for injunctive relief against the County Attorney her request for a restraining order should

be dismissed.

   II.      Petitioner’s complaint against the County Defendants is barred by various
            immunities.

         Petitioner’s complaint against Coughlin is brought against him in his capacity as the

Hillsborough County Attorney. As a result, County Attorney Coughlin is entitled to official

immunity, discretionary function immunity, and RSA 507-B immunity. See RSA 507-B:4, IV;

Dichiara v. Sanborn Reg’l Sch. Dist., 165 N.H. 694 (2013); see Everitt v. General Elec. Co., 156

N.H. 202, 209–10 (2007) (discussing official immunity and discretionary function immunity).the
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doctrine of prosecutorial immunity. The claim is also barred by the doctrine of prosecutorial

immunity.

       In New Hampshire, prosecutorial immunity functions much like judicial immunity in that

“all judicial officers when acting on subjects within their jurisdiction, are exempted from civil

prosecution for their acts.” Belcher v. Paine, 136 N.H. 143, 147 (1992) (quoting Evans v. Foster,

1 N.H. 374, 377 (1819)). Thus, under the doctrine of prosecutorial immunity, “it is well settled

that prosecutors are absolutely immune from suit for damages arising from initiating a

prosecution and in presenting the State’s case . . . provided that the conduct at issue is intimately

associated with the judicial process[.]” Id. (internal citation and quotations omitted). Moreover,

“the duties of a prosecutor in his role as advocate for the State involve actions preliminary to the

initiation of a prosecution and actions apart from the courtroom[.]” Id.

       Here, Petitioner’s complaint against Coughlin falls squarely within the purview of

prosecutorial immunity. Petitioner avers that Coughlin and/or his employee, Putney, failed to

fully investigate her complaints including by failing to obtain a forensic analysis of video. Such

decision making and conduct on the part of Coughlin is intimately associated with the judicial

process. Accordingly, Petitioner’s complaint against the County Attorney is barred by the

doctrine of prosecutorial immunity. It is well settled that prosecutors enjoy absolute immunity

for actions taken within the scope of their prosecutorial duties. Imbler v. Pachtman, 424 U.S.

409, 422-23 (1976). It is equally well settled that “in initiating a prosecution and in presenting

the State’s case, the prosecutor is immune from a civil suit for damages under § 1983.” Id. at

431; see Burns v. Reed, 500 U.S. 478, 486 (1991); Guzman-Rivera v. Rivera-Cruz, 55 F.3d 26,

29 (1st Cir. 1995). For absolute immunity to apply, the challenged conduct must be “intimately

associated with the judicial phase of the criminal process.” Imbler, 424 U.S. at 430; see Guzman-
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Rivera, 55 F.3d at 29. Absolute immunity does not, however, shield a prosecutor’s acts as an

administrator or investigator, but is limited to her role as an advocate for the state. See, e.g.,

Guzman-Rivera, 55 F.3d at 29.



                Absolute prosecutorial immunity is necessary to protect the
                judicial process from “harassment by unfounded litigation [that]
                would cause a deflection of the prosecutor’s energies from [her]
                public duties, and the possibility that [she] would shade [her]
                decisions instead of exercising the independence of judgment
                required by [her] public trust.” Burns, 500 U.S. at 478 (citing
                Imbler, 424 U.S. at 423). The Supreme Court has acknowledged
                that “[absolute] immunity does leave the genuinely wronged
                defendant without civil redress against a prosecutor whose
                malicious or dishonest action deprives him of liberty. But the
                alternative of qualifying a prosecutor’s immunity would disserve
                the broader public interest.” Imbler, 424 U.S. at 427.


Bryant v. Noether, et al., Civil No. 00-191-M, Opinion No. 2001 DNH 064 at *11-13

(D.N.H. March 30, 2001) (dismissing claims asserted against county attorney related

to her initiation and prosecution of criminal charges versus the plaintiff). See also

Appell v. Giaccone, et al., Civil No. CV-96-060-M, Order at p. 11 (D.N.H. 12/11/97), reconsid.

denied (1/26/98) (“Plaintiff’s [state law] claims against O’Connor based on his conduct as a

prosecutor are barred by prosecutorial immunity. See Belcher v. Paine, 136 N.H. 137, 143-47

(1992).”); human v. Colarusso, Jr., et al., Civil No. 13-CV-296-SM 1/16/14, Opinion No. 2014

DNH 006 at *5 (D.N.H. Jan. 16, 2014).

        Additionally Petitioner has failed to plead sufficient facts to overcome the statutory

immunity afforded to each of the County Attorney. See RSA 507-B:4, IV (“If any claim is made

or any civil action is commenced against a present or former employee, trustee, or official of a
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governmental unit seeking equitable relief or claiming damages, the liability of said employee or

official shall be governed by the same principles and provisions of law and shall be subject to the

same limits as those which govern governmental unit liability, so long as said employee or

official was acting within the scope of his or her office and reasonably believed in the legality of

his or her actions.” Again, the County Attorney is entitled to official immunity, discretionary

function immunity, and RSA 507-B immunity. See RSA 507-B:4, IV; Dichiara v. Sanborn Reg’l

Sch. Dist., 165 N.H. 694 (2013); see Everitt v. General Elec. Co., 156 N.H. 202, 209–10 (2007)

(discussing official immunity and discretionary function immunity). The Petitioner has failed to

offer sufficient facts that would overcome the application of the aforementioned immunities to

this defendant. As a result, her complaint should be dismissed.

Conclusion:

       Petitioners’ success on the merits is unfounded and unsupported. The balance of equities

and the public interest both weigh against granting the relief requested.

       WHEREFORE, respondent respectfully requests that this Honorable Court:

       A.      Deny the Injunctive Relief Requested;

       B.      Dismiss the Petition with prejudice; and

       C.      Grant such further and other relief as the Court deems appropriate.




DATED: May 30, 2023                           Respectfully submitted,
                                              Hillsborough County


                                               /s/Carolyn M. Kirby
                                              By: Carolyn M. Kirby, Esquire
                                              329 Mast Road
                                              Goffstown, NH 03045
                                              Tel. 603-627-5628
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                                             NH Bar # 7907
                                             ckirby@hcnh.org


                                       CERTIFICATION


        I hereby certify that a copy of the within Motion has been forwarded via electronic
service to Rochelle Puget on this 30th day of May 2023.


                                             /s/Carolyn M. Kirby
                                             Carolyn M. Kirby, Esquire
